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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


IN RE:

APPLICATION OF THE COMMITTEE ON
THE JUDICIARY, U.S. HOUSE OF                    No. 19-gj-48 (BAH)
REPRESENTATIVES, FOR AN ORDER
AUTHORIZING THE RELEASE OF
CERTAIN GRAND JURY MATERIALS



          OPPOSITION OF THE COMMITTEE ON THE JUDICIARY,
  U.S. HOUSE OF REPRESENTATIVES, TO THE DEPARTMENT OF JUSTICE’S
                 MOTION FOR A STAY PENDING APPEAL
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                                        INTRODUCTION

       This Court should deny the stay sought by the Department of Justice (DOJ) so that the

Committee on the Judiciary (Committee) of the U.S. House of Representatives can promptly

access grand jury materials essential to its urgent impeachment inquiry.1 These materials will

aid the Committee in determining whether President Donald J. Trump committed impeachable

offenses when he attempted to obstruct the Special Counsel’s investigation of Russian

interference in the 2016 Presidential election.2 The materials are also relevant to the House’s

investigation of the President’s solicitation of Ukrainian interference in the 2020 Presidential

election.3 Recognizing the urgency of these matters, and correctly concluding that the disclosure

the Committee seeks is “preliminar[y] to … a judicial proceeding,” Fed. R. Crim. P.

6(e)(3)(E)(i), this Court ordered prompt disclosure to the Committee. See In re App. of the

Comm., — F. Supp. 3d —, 2019 WL 5485221, at *38 (D.D.C. Oct. 25, 2019).

       For the reasons explained below, DOJ has not satisfied the “stringent requirements” for a

stay pending appeal. Citizens for Responsibility & Ethics in Wash. v. FEC (CREW), 904 F.3d

1014, 1016 (D.C. Cir. 2018) (per curiam). This Court’s decision is correct and disclosure will

cause DOJ no injury. Conversely, withholding disclosure would cause severe harm to the

Committee and the public by depriving the House of information essential to its ongoing

impeachment investigation. The Committee respectfully requests that the Court deny DOJ’s

motion.




       1
       See DOJ’s Mot. to Stay Disclosure Order Pending Appeal (DOJ Mot.) (Oct. 28, 2019),
ECF No. 48.
     2
       See App. of the Comm. (Comm. App.) (July 26, 2019), ECF No. 1.
     3
       See Reply of the Comm. (Comm. Reply) at 2, 20-21 (Sept. 30, 2019), ECF No. 33.
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                                           ARGUMENT

       “A stay pending appeal is always an extraordinary remedy[.]” Brotherhood of Ry. & S.S.

Clerks, Freight Handlers, Express & Station Emps., 374 F.2d 269, 275 (D.C. Cir. 1966) (per

curiam). “A stay is not a matter of right, even if irreparable injury might otherwise result.” Nken

v. Holder, 556 U.S. 418, 433 (2009) (quotation marks omitted). In seeking a stay, DOJ must

establish that it “will be irreparably injured absent a stay” and make “a strong showing that [it] is

likely to succeed on the merits.” Id. at 434 (quotation marks omitted). Irreparable injury and

likelihood of success “are the most critical” factors, id., and DOJ cannot satisfy either of them.

In addition, the Court must consider “whether issuance of the stay will substantially injure [the

Committee]” and “where the public interest lies.” Id. (quotation omitted). These factors also

weigh decisively in the Committee’s favor.

I.     Disclosure to the Committee of Materials Critical to the House’s Impeachment
       Inquiry Will Not Irreparably Injure DOJ

       Complying with this Court’s disclosure order will not irreparably injure DOJ. Indeed,

DOJ makes no effort to claim that it will suffer any direct injury from disclosure to the

Committee. Nor could it: the grand jury is not a creature of the Executive Branch. United

States v. Williams, 504 U.S. 36, 47 (1992) (explaining that the grand jury “has not been textually

assigned … to any of the branches”); see, e.g., United States v. Drake, 310 F. Supp. 3d 607, 621

(M.D.N.C. 2018) (“A federal grand jury and the DOJ are separate entities.”). Instead, DOJ

asserts that disclosure to the Committee will cause irreparable injury because “grand jury secrecy

will be pierced” and materials “will be disclosed to persons beyond those enumerated as lawful

recipients by Rule 6(e).” DOJ Mot. at 3. But this generalized harm to grand jury secrecy is just

another framing of DOJ’s argument on the merits. As discussed below, that argument is

incorrect.


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       Moreover, courts have already rejected DOJ’s contention, explaining that a “merely

generalized assertion of secrecy in grand jury materials must yield to a demonstrated, specific

need for evidence in a pending impeachment investigation.” In re Request for Access to Grand

Jury Materials, Grand Jury No. 81-1, Miami, 833 F.2d 1438, 1444 (11th Cir. 1987). Grand jury

secrecy will always be pierced when a court has ordered disclosure pursuant to Rule 6(e). Other

than to assert that DOJ disagrees with this Court’s ruling and that the disclosure would be

difficult to undo, DOJ has no explanation for why it would suffer harm warranting a stay. DOJ

notably has not argued that disclosure would threaten any ongoing matters, abandoning an

argument that it advanced earlier (albeit vaguely). See Comm. Reply at 23-24.4 In any event,

DOJ has already disclosed to the Committee and the House Permanent Select Committee on

Intelligence (HPSCI) certain materials that were redacted in the public version of the Mueller

Report as potentially implicating ongoing matters, see id. at 24, and there has been no assertion

that that disclosure has resulted in any harms.

       In any event, the harm that DOJ asserts to general interests in grand jury secrecy is

minimal in this context. As this Court correctly recognized, “[a]ny ‘considerations justifying’

continued grand jury ‘secrecy bec[a]me less relevant’ once the Special Counsel’s investigation,

and attendant grand jury work, concluded.” In re App., 2019 WL 5485221, at *37 (quoting

Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 223 (1979)). DOJ thus does not contend that

disclosure would threaten the immediate values served by grand jury secrecy, such as preventing




       4
          After the Court directed DOJ to indicate whether any materials redacted in the Mueller
Report pursuant to Rule 6(e) may have been redacted for other reasons as well, DOJ provided a
table in a supplemental filing indicating six such instances. See Second Decl. of Bradley
Weinsheimer ¶ 3 (Oct. 11, 2019), ECF 40-1. It pointed to only a single instance in which
material redacted pursuant to Rule 6(e) was also designated through FOIA litigation as
implicating ongoing law enforcement matters. See id. (citing Mueller Report, Vol. I at 176).
                                                  3
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flight by the targets of criminal investigations, safeguarding the impartiality of sitting grand

jurors, and protecting active witnesses. See Douglas Oil, 441 U.S. at 218-19.

       There is also no reason to conclude—and DOJ offers none—that denying a stay on the

facts of this case would irreparably harm the long-term interests of the grand jury. The Court’s

order covers only a limited range of materials: a set of specific redactions and the transcripts and

exhibits underlying them. It is unlikely that these targeted disclosures—made in the

extraordinary context of a Presidential impeachment inquiry—would deter future witnesses from

testifying candidly before other grand juries. See In re App., 2019 WL 5485221, at *37.

       In addition, as the D.C. Circuit has made clear, “[t]he courts must presume that the

committees of Congress will exercise their powers responsibly and with due regard for the rights

of affected parties.” Exxon Corp. v. FTC, 589 F.2d 582, 589 (D.C. Cir. 1978); see id. at 594

(citing the “presumption of congressional propriety” in treating sensitive information). Here, the

Court has ordered disclosure to the Committee, and the Committee has provided that absent a

further vote, any grand jury materials it receives will remain confidential pursuant to its

“Procedures for Handling Grand Jury Information.” See In re App., 2019 WL 5485221, at *37 &

n.44. DOJ still has not offered any “basis on which to assume that the Committee’s use of the

material will be injudicious or that it will disregard or change these procedures.” Id. at *37

(quotation marks and alterations omitted).

       Finally, DOJ incorrectly argues that any harm from disclosure would be irremediable,

and erroneously implies that disclosure would moot DOJ’s appeal. In United States v. Sells

Engineering, the Supreme Court held that a disclosure of grand jury materials was unlawful even

after disclosure had occurred, recognizing that when disclosure causes harm, that harm continues

to accrue over time as additional people are provided with access. See 463 U.S. 418, 422 n.6



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(1983) (explaining that the refusal by the court of appeals to stay the district court’s disclosure

order did not moot the case given that “preventing further disclosure” would afford “partial

relief” (quotation marks omitted)).

       “Irreparable harm must be both certain and great, and actual and not theoretical.” CREW,

904 F.3d at 1019 (quotation marks omitted). This Court should deny the stay because DOJ has

failed to show that it will be irreparably harmed by this Court’s order.

II.    This Court Correctly Authorized Disclosure Under Rule 6(e), and DOJ Has Not
       Made Any Showing—Much Less a Strong Showing—that the Court Was Wrong

       In authorizing disclosure, the Court correctly determined that: (1) Rule 6(e)’s exception

for judicial proceedings encompasses impeachments, see In re App., 2019 WL 5485221, at *11-

23; (2) the Committee’s investigation is preliminary to a judicial proceeding within the meaning

of Rule 6(e), see id. at *23-32; and (3) the Committee has a particularized need for the disclosure

it seeks, see id. at *32-38. In its stay motion, DOJ does not address the second conclusion, and

its arguments against the first and third are unavailing.

       1. a. DOJ’s interpretation of Rule 6(e) as not including impeachments is foreclosed by

D.C. Circuit precedent and DOJ’s own prior litigation position. “The D.C. Circuit has already

expressly concluded at least twice—in Haldeman v. Sirica and McKeever v. Barr—that an

impeachment trial is a ‘judicial proceeding’ under Rule 6(e)[.]” In re App., 2019 WL 5485221,

at *19. In Haldeman, the en banc D.C. Circuit rejected the argument “that impeachment does

not fall into th[e] category” of judicial proceedings set forth in Rule 6(e). 501 F.2d 714, 715

(D.C. Cir. 1974). The fact that Haldeman arose on mandamus makes no difference, as this Court

has explained, because the portion of Haldeman addressing Rule 6(e) did not mention the

mandamus standard and instead resolved the question on the merits. See In re App., 2019 WL

5485221, at *21.


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       If there were any doubt about the proper interpretation of Haldeman, the D.C. Circuit

resolved it less than one year ago in McKeever, explaining that Haldeman is best understood to

hold that impeachment “fit[s] within the Rule 6 exception for ‘judicial proceedings.’” 920 F.3d

842, 847 n.3 (D.C. Cir. 2019). DOJ characterizes McKeever’s discussion of Haldeman as dicta,

but “[a]gain, DOJ is wrong.” In re App., 2019 WL 5485221, at *22. McKeever’s interpretation

of Haldeman was essential to its holding and was the principal source of disagreement between

the McKeever majority and dissent.

       DOJ is in any event foreclosed from taking a contrary position now because it “changed

its longstanding position regarding whether impeachment trials are ‘judicial proceedings.’” Id. at

*22 n.30. In McKeever, it urged the D.C. Circuit to adopt the interpretation of Rule 6(e) and

Haldeman that it now disclaims. See Br. for Appellee at 37, McKeever, 920 F.3d 842 (No. 17-

5149), 2018 WL 2684575 (explaining that the D.C. Circuit has “treated Haldeman as standing …

for the proposition that an impeachment proceeding may qualify as a ‘judicial proceeding’ for

purposes of Rule 6(e)”). Having persuaded the D.C. Circuit to accept its interpretation of the

relevant circuit precedent in McKeever, DOJ may not now, “simply because [its] interests have

changed, assume a contrary position.” Temple Univ. Hosp. v. NLRB, 929 F.3d 729, 733 (D.C.

Cir. 2019) (quotation marks omitted).

       b. Even if DOJ’s argument were not foreclosed, it would fail on its own merits. As this

Court explained in its thorough discussion of the issue, impeachment trials qualify as “judicial

proceedings” under Rule 6(e).

       The text of the Constitution demonstrates that impeachment trials are judicial

proceedings. Article I provides that “[t]he Senate shall have the sole Power to try all

Impeachments,” and specifies that when the President is tried, “the Chief Justice shall preside.”



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U.S. Const., Art. I, § 3, cl. 6. Article I further refers to “Judgment in Cases of Impeachment,”

which “shall not extend further” than removal and disqualification, “but the Party convicted”

may be subject to a criminal trial “according to Law.” Id., Art. I, § 3, cl. 7. And Article III

describes an impeachment trial as a type of “Trial of all Crimes.” Id., Art. III, § 2, cl. 3. As this

Court recognized, these “words employed in the Constitution to describe the Senate’s role”—

words including “trial,” “convict,” “judgment,” “case,” and “crime”—contemplate a judicial

proceeding. In re App., 2019 WL 5485221, at *16.

       The Framers accordingly understood impeachment proceedings to involve the exercise of

judicial power. The Federalist Papers explain that the Senate is the “depositary of judicial power

in cases of impeachment,” The Federalist No. 47 (James Madison) (emphasis added); they refer

to “the judicial character [of the Senate] as a court for the trial of impeachments,” The

Federalist No. 65 (Alexander Hamilton) (emphasis added); and they explain that the Senate is

“assign[ed] … the right of judging” as a “court of impeachments,” The Federalist No. 66

(Alexander Hamilton) (emphasis added). When Alexander Hamilton in The Federalist No. 66

addressed the argument that tasking the Senate with conducting impeachment trials “confounds

legislative and judiciary authorities in the same body,” he did not dispute that this arrangement

produces an “intermixture” of “legislative and judiciary authorities” in the Senate, but rather

explained that this “partial intermixture” is “not only proper but necessary to the mutual defense

of the several members of the government against each other.” Id.; see In re App., 2019 WL

5485221, at *15.

       Consistent with the constitutional text and other Founding-era evidence, the Supreme

Court has recognized that “[t]he Senate … exercises the judicial power of trying impeachments.”

Kilbourn v. Thompson, 103 U.S. 168, 191 (1880) (emphasis added); see id. at 190 (finding “no



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reason to doubt” that Congress, in exercising its impeachment authority, has “the right to compel

the attendance of witnesses, and their answer to proper questions, in the same manner and by the

use of the same means that courts of justice can in like cases”).

       In light of the constitutional text and the Supreme Court precedent interpreting it,

impeachment trials constitute judicial proceedings under Rule 6(e). That conclusion is further

compelled by the fact that, as this Court explained, the term “judicial proceeding” in Rule 6(e)

“has been given a broad interpretation by the courts” and may include “every proceeding of a

judicial nature before a court or official clothed with judicial or quasi judicial power.” In re

Sealed Motion, 880 F.2d 1367, 1379-80 (D.C. Cir. 1989) (per curiam) (quotation marks omitted).

Indeed, it would be “incredible” if grand jury matters available with respect to other judicial

proceedings were “unavailable to the House of Representatives in a proceeding of so great

import as an impeachment investigation.” In re Report & Rec. of June 5, 1972 Grand Jury, 370

F. Supp. 1219, 1230 (D.D.C. 1974) (Sirica, J.).

       2. DOJ does not contest this Court’s conclusion that the Committee’s investigation is

preliminary to an impeachment trial in the Senate, In re App., 2019 WL 5485221, at *23-32, and

for good reason. First, this Court correctly held that the “‘primary purpose[]’ … of [the

Committee’s] investigation is to determine whether to recommend articles of impeachment.” Id.

at *23 (quoting United States v. Baggot, 463 U.S. 476, 480 (1983)). Ample evidence supports

this conclusion. See id. at *29-30 (surveying, among other things, a Committee report; a House

resolution authorizing this action; Chairman Nadler’s memorandum and hearing statements; a

Committee resolution; and Speaker Pelosi’s statement that the House is “moving forward with an

official impeachment inquiry” (quotation marks omitted)).




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       Second, what that evidence confirms about the purpose of the Committee’s investigation

as a whole is certainly true with regard to the “primary purpose” of the specific “disclosure” the

Committee seeks here. Baggot, 463 U.S. at 480 (emphasis added). That the Committee’s

investigation encompasses whether the President’s misconduct may also merit legislative and

oversight responses, e.g., App. at 2, 12 & nn.3-4, does not alter the fact that the primary purpose

of disclosure to the Committee is to aid the Committee’s determination whether or not to

impeach. See In re App., 2019 WL 5485221, at *29 (“‘Congress’s decision whether, and if so

how,’ to act ‘will necessarily depend on what information it discovers in the course of an

investigation, and its preferred path forward may shift as members educate themselves on the

relevant facts and circumstances.’” (quoting Trump v. Mazars USA, LLP, — F.3d —, 2019 WL

5089748, at *13 (D.C. Cir. Oct. 11, 2019))).

       Third, this Court properly rejected DOJ’s argument that the primary purpose of

disclosure cannot be impeachment because the Committee cannot itself initiate an impeachment

trial in the Senate. As this Court recognized, Baggot shows “that the requisite judicial

proceeding need not be subject to initiation by the party seeking disclosure.” Id. at *25 (citing

Baggot, 463 U.S. at 482-83). Rather, under Supreme Court and D.C. Circuit precedent, the

requisite “proceeding need only be ‘anticipated[]’ … or ‘possible[.]’” Id. (quoting Baggot, 463

U.S. at 480; In re Grand Jury, 490 F.3d 978, 986 (D.C. Cir. 2007)). Here, an impeachment trial

is an anticipated or possible consequence of the Committee’s investigation, for the reasons stated

by this Court and summarized above. See also id. at *25-28 (rejecting the argument that a House

resolution is needed to authorize the Committee’s impeachment inquiry); id. at *30-31 (declining

DOJ’s invitation to “impermissibl[y] intru[de] on the House’s constitutional authority under the

Rulemaking and Impeachment Clauses”).



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       3. The Supreme Court has instructed that determinations of “particularized need” are

committed to the “considered discretion of the district court.” Douglas Oil, 441 U.S. at 228.

DOJ’s efforts to challenge this Court’s exercise of its discretion fail.

       DOJ principally argues that the materials the Committee seeks are not related to the

House’s ongoing impeachment inquiry, which DOJ asserts “will focus narrowly on the

whistleblower complaint and issues surrounding Ukraine.” DOJ Mot. at 6; see id. at 5. DOJ is

wrong about the scope of the House’s inquiry: as the Committee confirmed at oral argument,

“it’s not just Ukraine that’s the focus.” 10/8 Hr’g Tr. at 32 (“I can’t emphasize [this]

enough[.]”). After referencing “several months” of “investigat[ions]” by House “Committees” to

“gather all the relevant facts and consider whether to … approv[e] articles of impeachment,”

Speaker Pelosi “direct[ed] … six Committees”—including the Judiciary Committee, and not just

HPSCI—“to proceed with their investigations under that umbrella of impeachment inquiry.”5

For months, the Judiciary Committee has been investigating the substantial evidence of

misconduct detailed in the Mueller Report as part of the Committee’s consideration of “whether

to approve articles of impeachment with respect to the President.” H.R. Rep. No. 116-105, at 13

(June 6, 2019). As the Speaker and the undersigned counsel have confirmed, the Committee’s

investigation is part of the House’s impeachment inquiry.

       Yet, even if the House’s inquiry were as narrow as DOJ claims—and it is not—DOJ’s

objections would still fail: the Judiciary Committee has explained that the grand jury materials




       5
         Pelosi Remarks (Sept. 24, 2019), https://perma.cc/6EQM-34PT. In seeking a stay, DOJ
ignores Speaker Pelosi’s actual remarks, on which the Committee relies here (in addition to all
the other evidence before the Court, see In re App., 2019 WL 5485221, at *29), in favor of a
news article that does not quote the Speaker on the relevant issue, see DOJ Mot. at 5-6.
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at issue may also be relevant to HPSCI’s investigation of the President’s solicitation of Ukrainian

interference in the 2020 election. See Comm. Reply at 20-21.

       DOJ additionally claims that the Committee has articulated only a “generalized,” and not

a “specific,” need for disclosure. DOJ Mot. at 5 (emphasis omitted). This Court correctly found

to the contrary. To be sure, the Court began by recognizing the importance of disclosure in

broad terms, as preserving “the public’s faith in the [impeachment] process” and avoiding

“constitutional problems.” See In re App., 2019 WL 5485221, at *33-34. Crucially, however,

the Court then addressed specific “[f]eatures of the House’s investigation and of the Mueller

Report” and concluded that they make the Committee’s “need for the grand jury materials …

especially particularized and compelling.” Id. at *34. In particular, the Court referenced a

       Trump Tower Meeting, Carter Page’s trip to Moscow, Paul Manafort’s sharing of
       internal polling data with a Russian business associate, and the Seychelles
       meeting, as well as information about what candidate Trump knew in advance
       about WikiLeaks’ dissemination in July 2016 of stolen emails from democratic
       political organizations and the Clinton Campaign.

Id. at *34. As the Court concluded, “Rule 6(e) material was redacted from the descriptions of

each of these events in the Mueller Report and access to this redacted information is necessary to

complete the full story for [the Committee],” id., including with regard to the President’s

potential motives for obstructing the Special Counsel’s investigation and any misconduct from

the campaign that he might have been trying to conceal, see Comm. App. at 34-35; Comm.

Reply at 20-22. The Committee’s detailed showing—made in the absence of access to the grand

jury materials themselves—belies DOJ’s suggestion that the Committee has not stated a specific

enough need.

       Relatedly, DOJ asserts that the Committee has “provided no basis to believe that”

inconsistencies in the testimony of witnesses in the House’s impeachment inquiry “occurred,” at

least as “to witnesses who have not already been indicted.” DOJ Mot. at 5. DOJ never explains
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how the Committee, lacking access to the materials, could nonetheless state a specific—and

grave—allegation that the materials reveal that individuals lied to Congress. To the contrary, all

the Committee and the Court can do at this stage, and all that they need to do, is point to the

“numerous individuals” who have already provided relevant testimony to the House and the fact

that one witness who spoke to both the Special Counsel and the House has already been

convicted of making false statements to Congress. In re App., 2019 WL 5485221, at *34

(concluding that “[t]he record … suggests that the grand jury material referenced or cited in the

Mueller Report may be helpful in shedding light on inconsistencies or even falsities in the

testimony of witnesses called in the House’s impeachment inquiry”). And DOJ itself has

“acknowledge[d] [that] disclosure of grand jury information when necessary to avoid misleading

a trier of fact is a paradigmatic showing of particularized need.” Id. (quotation marks omitted);

see Douglas Oil, 441 U.S. at 222 n.12.

       Finally, DOJ again claims that the material to which the Committee already purportedly

has access ought to suffice for the Committee to determine whether to recommend that the

President be impeached. See DOJ Mot. at 5-6. This Court correctly rejected that contention,

concluding that “the sources DOJ identifies cannot substitute for the requested grand jury

materials”:

       To insure most effectively against being misled, [the Committee] must have
       access to all essential pieces of testimony by witnesses, including testimony given
       under oath to the grand jury. Additionally, for purposes of assessing and
       following up on the Mueller Report’s conclusions, the full Report is needed: the
       grand jury material may offer unique insights, insights not contained in the rest of
       the Report, congressional testimony, or FBI-302 reports.

In re App., 2019 WL 5485221, at *36.

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       Throughout its motion, DOJ characterizes its arguments against disclosure as

“substantial” and asserts that “there is substantial room for debate on the merits.” See DOJ Mot.

at 4, 6. For the reasons stated above, DOJ is wrong. Regardless, even if DOJ were correct it

would not matter. Under the applicable standard, substantial questions are not enough: DOJ

must make “a strong showing” of likelihood of success. Nken, 556 U.S. as 434 (emphasis

added). DOJ has not done so—“an arguably fatal flaw for [its] stay application.” CREW, 904

F.3d at 1019 (noting that the D.C. Circuit has “declin[ed] to decide” whether likelihood of

success is independently required); see Sherley v. Sebelius, 644 F.3d 388, 393 (D.C. Cir. 2011)

(“read[ing] Winter [v. Natural Res. Def. Council, Inc., 555 U.S. 7 (2008)] at least to suggest if

not to hold that a likelihood of success is an independent, free-standing requirement” (quotation

marks omitted)).

III.   A Stay Pending Appeal Would Substantially Injure the Committee and Disserve the
       Public Interest

       A stay would substantially harm the Committee by depriving it of information it needs to

carry out its constitutional impeachment function. Moreover, a stay would impair the public’s

interest in an efficient, fair impeachment process based on all of the relevant evidence. What

Judge Sirica stated during Watergate remains true today: a Presidential impeachment inquiry is

“a matter of the most critical moment to the Nation … . It would be difficult to conceive of a

more compelling need than that of this country for an unswervingly fair inquiry based on all the

pertinent information.” In re Report, 370 F. Supp. at 1230.

       1. Withholding disclosure will cause substantial harm to the Committee. As this Court’s

finding of particularized need (discussed above) confirms, the Committee urgently requires the

grand jury information it seeks. See In re App., 2019 WL 5485221, at *34-35. That information

will shed critical light on Russian interference in the 2016 election and President Trump’s


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potential obstruction of justice.6 If this Court enters a stay, the Committee will be deprived of

this important information to which it is entitled. That deprivation alone would seriously harm

the Committee: where “granting a stay would deprive [the Committee] of the information it

seeks,” that “plainly constitutes harm for purposes of this analysis.” Comm. on the Judiciary v.

Miers, 575 F. Supp. 2d 201, 208 (D.D.C. 2008); see Dunlap v. Presidential Advisory Comm’n on

Election Integrity, 286 F. Supp. 3d 96, 110 (D.D.C. 2017) (“where an obligation to disclose

exists, plaintiffs may suffer irreparable harm if they are denied access to information that is

highly relevant to an ongoing public debate”).

       The harm to the Committee that would result from staying disclosure pending appeal is

particularly severe because denying the Committee “evidence relevant to an impeachment

inquiry could pose constitutional problems.” In re App., 2019 WL 5485221, at *34. The

Constitution vests the House with the “sole Power of Impeachment.” U.S. Const., Art. I, § 2, cl.

5; see Senate Select Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 732

(D.C. Cir. 1974) (explaining that Congress’s “investigative authority … with respect to

presidential conduct has an express constitutional source” (citing U.S. Const., Art. I, § 2)).

Withholding the grand jury materials “would clearly violate separation of powers principles” by

impairing the Committee’s ability to carry out its Article I impeachment function. In re Request,

833 F.2d at 1445; see Clinton v. Jones, 520 U.S. 681, 701 (1997) (“the separation-of-powers

doctrine requires that a branch not impair another in the performance of its constitutional duties”

(quoting Loving v. United States, 517 U.S. 748, 757 (1996))); Nixon v. Adm’r of Gen. Servs., 433




       6
         Although DOJ again argues—based solely on a Washington Post article—that the
Judiciary Committee’s inquiry into these issues is “secondary” to HPSCI’s Ukraine inquiry, DOJ
Mot. at 6, that contention lacks merit for the reasons stated above.
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U.S. 425, 443 (1977) (focusing on the extent to which a Branch is prevented “from

accomplishing its constitutionally assigned functions” and whether such impairment is justified).

       2. The public interest demands a swift but thorough impeachment investigation, which is

critical to the House’s ability to effectively and efficiently perform its impeachment function.

Deciding whether to impeach the President is among Congress’s most important and solemn

constitutional obligations. As James Madison explained, “[t]he limitation of the period of [the

President’s] service[] was not a sufficient security” against incapacity or corruption, which could

be “fatal to the Republic.” 2 The Records of the Constitutional Convention of 1787, at 65-66

(Max Farrand ed., 1911). Or as DOJ’s own Office of Legal Counsel has put it, by assigning the

power to impeach to Congress, “the Framers themselves” acknowledged “the public interest in

immediately removing a sitting President whose continuation in office poses a threat to the

Nation’s welfare.” A Sitting President’s Amenability to Indictment and Criminal Prosecution, 24

Op. O.L.C. 222, 2000 WL 33711291, at *27 (2000) (emphasis added).

       Delay in this case would not only hinder the House’s ability to consider impeachment

quickly, but also enhance DOJ’s ability to run out the clock on the Committee’s impeachment

inquiry altogether. That would further undermine the public interest. Because the House is not a

continuing body, see Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 512 (1975), the

Committee’s investigation and the articles of impeachment referred to the Committee will

necessarily expire on January 3, 2021. The Committee requires sufficient time before that date

to perform its constitutional duties. Every day that the Committee is without the redacted

information undercuts the Committee’s ability to determine whether to impeach the President.

Cf. Miers, 575 F. Supp. 2d at 207 (suggesting the Judiciary Committee would have a claim to




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irreparable harm where, absent relief, “the Committee would very likely be denied … testimony

… , which it [had] deemed vital to its investigation, prior to the lapse of Congress”).

       Finally, as this Court recognized, “[i]mpeachment based on anything less than all relevant

evidence would compromise the public’s faith in the process.” In re App., 2019 WL 5485221, at

*34. That principle applies with particular force here, where the Mueller Report detailed

troubling instances of Presidential misconduct and abuse of power. Because the Special Counsel

declined to make a criminal charging decision regarding the President, it is now up to Congress

to determine whether to hold the President accountable. A fair process to determine whether the

President has committed impeachable offenses, taking into account all relevant information, is

undoubtedly in the public’s interest. The Committee is investigating what actions the President

might have taken to undermine the investigation into Russian interference, who was involved,

and how to prevent such conduct in the future. The public has an interest in the House obtaining

answers to these questions and those concerning the President’s solicitation of Ukrainian

interference in the 2020 Presidential election. As the D.C. Circuit has recognized, there is a

“clear public interest in maximizing the effectiveness of the investigatory powers of Congress.”

Exxon Corp., 589 F.2d at 594.

                                         CONCLUSION

       The Committee respectfully requests that the Court deny DOJ’s motion for a stay

pending appeal.




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                                   Respectfully submitted,

                                   /s/ Douglas N. Letter
                                   Douglas N. Letter (DC Bar No. 253492)
                                       General Counsel
                                   Todd B. Tatelman (VA Bar No. 66008)
                                       Deputy General Counsel
                                   Megan Barbero (MA Bar No. 668854)
                                       Associate General Counsel
                                   Josephine Morse (DC Bar No. 1531317)
                                       Associate General Counsel
                                   Adam A. Grogg (DC Bar No. 1552438)
                                       Assistant General Counsel
                                   Jonathan B. Schwartz (DC Bar No. 342758)
                                       Attorney
                                   OFFICE OF GENERAL COUNSEL
                                   U.S. HOUSE OF REPRESENTATIVES
                                   219 Cannon House Office Building
                                   Washington, D.C. 20515
                                   Telephone: (202) 225-9700
                                   douglas.letter@mail.house.gov

                                   Annie L. Owens (DC Bar No. 976604)
                                   Daniel B. Rice (DC Bar No. 888273343)
                                   Joshua A. Geltzer (DC Bar No. 1018768)
                                   Mary B. McCord (DC Bar No. 427563)
                                   INSTITUTE FOR CONSTITUTIONAL
                                      ADVOCACY AND PROTECTION
                                   Georgetown University Law Center
                                   600 New Jersey Avenue NW
                                   Washington, D.C. 20001
                                   Telephone: (202) 662-9042
                                   ao700@georgetown.edu

                                   Counsel for the Committee on the Judiciary, United
                                   States House of Representatives

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